
998 A.2d 361 (2010)
415 Md. 60
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Crystal Anita Gist FISHER, Respondent.
Misc. Docket AG No. 8, September Term 2010.
Court of Appeals of Maryland.
July 15, 2010.

ORDER
Based upon the terms of the Joint Petition for Disbarment and Affidavit filed by Crystal Anita Gist Fisher in accordance with Maryland Rule 16-772, and written recommendation of Bar Counsel, it is this 15th day of July, 2010,
ORDERED, by the Court of Appeals of Maryland, that Crystal Anita Gist Fisher be, and she is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Crystal Anita Gist Fisher from the register of attorneys, and pursuant to Maryland Rule 16-772, shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
/s/ Glenn T. Harrell, Jr. JUDGE
